
ON APPLICATION FOR ADMISSION TO THE BAR
1PER CURIAM.
The Committee on Bar Admissions (“Committee”) opposed the application of petitioner, Michael L. Bernoudy, Jr., to sit for the Louisiana Bar Examination based on character and fitness concerns. We subsequently granted petitioner permission to sit for the bar, with the condition that upon his successful completion of the exam, he apply to the court for the appointment of a commissioner to take character and fitness evidence. In re: Bernoudy, 02-1777 (La.7/2/02), 819 So.2d 1026. Petitioner thereafter successfully passed the essay portion of the bar exam, and upon his application, this court appointed a commissioner to take evidence and report to this court whether petitioner has the appropriate character and fitness to be admitted to the bar and allowed to practice law in the State of Louisiana. We also authorized the Office of Disciplinary Counsel to conduct an investigation into petitioner’s qualifications to be admitted to the bar. After hearing evidence in the case, the commissioner filed his report with this court, recommending petitioner be denied admission to the practice of law. Petitioner objected to that recommendation, and oral argument was conducted before this court pursuant to Supreme Court Rule XVII, § 9(B)(3).
After hearing oral argument, reviewing the evidence, and considering the law, we conclude petitioner has failed to meet his burden of proving that he has “good moral | ¡¡character” to be admitted to the Louisiana State Bar Association. See Supreme Court Rule XVII, § 5(E).
Accordingly, it is ordered that the application for admission is denied.
